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                        UNITED STATES OF DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                  MINUTES
     Case Number               Date                    Time                Judge

   1:17-cv-00272-JTN         9/12/2017        2:00 PM – 4:15 PM        Ellen S. Carmody

                                  CASE CAPTION

                          McLane v. Velo Associates, PLC et al

                                  APPEARANCES
     Attorney:                                         Representing:
Jeffrey David Mapes                         Plaintiff(s)

Charity A. Olson                            Defendant(s)


                                  PROCEEDINGS

NATURE OF HEARING: Early Settlement Conference held; settlement reached in
this case as well as 1:17-cv-00544-RJJ Swan v. Velo Associates, PLC and 17-cv-
00493-PLM Weber v. Velo Associates, PLC et al; order regarding dismissal
documents to issue.




                             Portions Digitally Recorded
                               Deputy Clerk: J. Lenon
